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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION
 ALEXANDER STROSS,                               §
           Plaintiff                             §
                                                 §
 v.                                              §           Case No. 1: 21-cv-00440-SH
                                                 §
 CABINETS DELUXE BY DALE, INC.,
                                                 §
           Defendant
                                       FINAL JUDGMENT

      Before the Court is the above styled and numbered cause. On this date, the Court granted the

Agreed Motion to Dismiss with Prejudice. The parties agreed to dismiss with prejudice all claims

that were or that could have been asserted in this action. Accordingly, the Court renders this Final

Judgment pursuant to Federal Rule of Civil Procedure 58. Each party will bear its own fees and

costs of court.

      IT IS HEREBY ORDERED that that all settings are CANCELED and the case is CLOSED.

      SIGNED on June 24, 2022.


                                                      SUSAN HIGHTOWER
                                                      UNITED STATES MAGISTRATE JUDGE
